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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       ) Criminal Action No. 1:23-cr-00061-MN
                                     )
ROBERT HUNTER BIDEN,                 )
                                     )
            Defendant.               )
                                     )
____________________________________)


    MR. BIDEN’S MOTION TO DISMISS THE INDICTMENT FOR FAILURE TO
          CHARGE A CONSTITUTIONALLY PERMISSIBLE OFFENSE




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                                         INTRODUCTION

        The prosecution charges that Mr. Biden violated a rarely used statute that it claims

prevented him from owning a firearm as an unlawful user of a controlled substance, 18 U.S.C.

§ 922(g)(3), but that statute’s status-based prohibition on gun ownership recently was struck down

as unconstitutional under the Second Amendment. See United States v. Daniels, 77 F.4th 337 (5th

Cir. 2023). Not only does the unconstitutionality of Section 922(g)(3) render Mr. Biden’s alleged

violation of that unconstitutional statute baseless, it compels the same conclusion as to the

prosecution’s charges that Mr. Biden made a false statement in denying his status as a user of a

controlled substance under 18 U.S.C. § 922(a)(6) and caused the seller (a holder of a federal

firearms license) to maintain a record of this false answer in violation of 18 U.S.C. § 924(a)(1)(A).

        Because persons protected by the Second Amendment can no longer be denied gun

ownership due simply to past drug use—a practice inconsistent with this nation’s historical

tradition on firearm regulation—any false statement by Mr. Biden concerning his status as having

used a controlled substance no longer concerns “any fact material to the lawfulness of the sale” of

a firearm. 18 U.S.C. § 922(a)(6). Quite simply, asking about Mr. Biden’s status as a user of a

controlled status is constitutionally irrelevant to whether he can be denied his Second Amendment

right to gun ownership. Likewise, Section 924(a)(1)(A)’s requirements concerning maintaining

records free of false information is no longer implicated because it is not a statute that “criminalizes

a false answer to an ultra vires question.” Abramski v. United States, 573 U.S. 169, 206 (2014)

(Scalia, J., dissenting).




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                                           ARGUMENT

I.      SECTION 922(G)(3) IS AN UNCONSTITUTIONAL PROHIBITION ON GUN
        OWNERSHIP THAT VIOLATES THE SECOND AMENDMENT

        Gun control is a politically charged topic, and the scope of permissible gun control laws

consistent with the Second Amendment has been a divisive legal issue among scholars, but the

Supreme Court in New York State Rifle & Pistol Association v. Bruen, 142 S. Ct. 2111 (2022),

recently adopted a test for evaluating the constitutionality of restrictions on the possession of

firearms that resolve many of those issues. The Supreme Court held that an individual’s right to

possess a handgun is “presumptively” protected by the Second Amendment. Id. If a government,

state or federal, seeks to restrict that right, the Supreme Court explained:

     the government may not simply posit that the regulation promotes an important interest.
     Rather, the government must demonstrate that the regulation is consistent with this
     Nation’s historical tradition of firearm regulation. Only if a firearm regulation is
     consistent with this Nation’s historical tradition may a court conclude that the individual’s
     conduct falls outside the Second Amendment’s ‘unqualified command.’

Id. at 2126 (citation omitted). The Court emphasized that the relevant timeframe for evaluating

this “historical tradition” is the period before the Second Amendment was adopted because “it has

always been widely understood that the Second Amendment . . . codified a pre-existing right.” Id.

at 2127 (quoting District of Columbia v. Heller, 554 U.S. 570, 592 (2008) (emphasis and alterations

in Bruen).

        Just recently, the Fifth Circuit applied the new Bruen framework to Section 922(g)(3)’s

prohibition on gun ownership by persons who is a user of or addicted to controlled substances, 1



1
  The Third Circuit explains: “The term ‘unlawful user’ is not otherwise defined in the statute, but
courts generally agree the law runs the risk of being unconstitutionally vague without a judicially-
created temporal nexus between the gun possession and regular drug use.” United States v.
Augustin, 376 F.3d 135, 138 (3d Cir. 2004) (quoting United States v. Turnbull, 349 F.3d 558, 561
(8th Cir. 2003)). Thus, “Congress intended the statute to cover unlawful drug use at or about the
time of the possession of the firearm. . . . [O]ne must be an unlawful user at or about the time he
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the same statute at issue in Mr. Biden’s case, and it had no difficulty finding the statute

unconstitutional. In truth, the statute is indefensible under the Bruen framework. Daniels

appropriately recognized that the Framers were well aware of the problems caused by intoxication,

but there is no historical precedent for prohibiting gun ownership by persons who had any history

of ingesting intoxicating substances. Rather, the problems associated with intoxication were

addressed by prohibiting certain conduct while intoxicated. Daniels, 77 F.4th at 345.

       Given the lack of any historical precedent for disarming citizens based on their status of

having used a controlled substance, the fact that Section 922(g)(3) violates the Second Amendment

is inevitable under the Bruen framework. As the Fifth Circuit explained, prior to Bruen, courts

would have addressed the issue of whether any defined class of people could be disarmed by

examining whether that class of persons is sufficiently dangerous to justify disarming them. Id. at

353. “But Bruen foreswears that kind of review,” the Fifth Circuit explained, “Bruen heads that

analysis off at the pass.” Id. While Congress could criminalize gun possession from someone

who was actively intoxicated, or perhaps someone who at least actively had a controlled substance

in their body, a prohibition on gun ownership by anyone who had at some time used a controlled

substance is constitutionally overbroad under Bruen. 2

       Since Bruen, other similar status-based prohibitions on gun ownership have been found

unconstitutional. The Fifth Circuit, for example, struck down another provision of Section 922—



or she possessed the firearm and that to be an unlawful user, one needed to have engaged in regular
use over a period of time proximate to or contemporaneous with the possession of the firearm.”
Id. at 138–39.
2
  Even before Bruen, this statute was rarely used to charge anyone, particularly absent other more
serious charges, because it would be absurd to apply it literally. Roughly half of American adults,
for example, have tried marijuana, and there would be a staggering number of felons in the United
States if all those who did later come into possession of a firearm were prosecuted under Section
922(g)(3). See Jeffrey M. Jones, Nearly Half of U.S. Adults Have Tried Marijuana, Gallup (Aug.
17, 2021), https://news.gallup.com/poll/353645/nearly-half-adults-tried-marijuana.aspx.
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922(g)(8)—which prohibited persons under a domestic violence restraining order from possessing

a firearm. United States v. Rahimi, 61 F.4th 443 (5th Cir. 2023). That statute targets individuals

that a court already has identified as potentially violent (in issuing a restraining order)—something

Section 922(g)(3) does not do—and yet it did not pass constitutional muster. Although the statute

had previously been upheld by that court, the Fifth Circuit found that “Bruen requires us to re-

evaluate our Second Amendment jurisprudence” and overrule its prior case law because there was

no historical precedent for such a prohibition when the Second Amendment was adopted. Id. at

448; see also Baird v. Bonta, 81 F.4th 1036, 1047 (9th Cir. 2023) (describing Daniels favorably).

       In doing so, the Fifth Circuit seemed almost apologetic. It began its opinion explaining:

“The question presented in this case is not whether prohibiting the possession of firearms by

someone subject to a domestic violence restraining order is a laudable policy goal.” Rahimi, 61

F.4th at 448 (emphasis in original). Even though such a prohibition may very well by a favorable

evolution in the law, it was not something the Framers would have envisioned as constitutionally

permissible under the Second Amendment according to Bruen. The Constitution does not make

such evolutions impossible, just more difficult through the amendment process, but the country

has done it many times when it has been warranted. See, e.g., U.S. Const., amend. IX (extending

the right to vote to women), XXVI (lowering voting age from twenty-one to eighteen); see also

Md. Shall Issue, Inc. v. Moore, 2023 WL 8043827, at *7 (4th Cir. Nov. 21, 2023) (explaining the

Constitution can be amended to permit more expansive gun control).

       If confronted with this very issue, there is no reason to doubt that the Third Circuit will

agree with the Fifth Circuit, the only circuit to have considered the constitutionality of Section

922(g)(3) post-Bruen. The Bruen framework is clear, and the historical record is immutable and

the same before this Court as it was when the Fifth Circuit addressed it.



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       Already, the Third Circuit, sitting en banc, found a similar status-based prohibition in

Section 922 unconstitutional in the wake of Bruen. Range v. Attorney General, 69 F.4th 96 (3d

Cir. 2023) (en banc). Range found that Section 922(g)(1), which prohibited anyone with a felony

conviction from possessing a gun, violates the Second Amendment because there was no historical

precedent for it when the Second Amendment was adopted. The plaintiff in Range was denied a

permit to purchase a firearm due to a prior felony conviction for making a false statement about

his income when applying for food stamps, and he challenged the constitutionality of the firearm

prohibition. The Third Circuit found that application of the statute unconstitutional. 3

       Like the Fifth Circuit, the Third Circuit explained that “Bruen abrogated our Second

Amendment jurisprudence” and the statute failed to pass muster under the Supreme Court’s newly

established framework for evaluating such challenges. Id. at 101. 4 The Third Circuit explained

that the prohibitions on felons possessing firearms was overbroad. Although there was precedent

for imposing restrictions on those who had committed violent crimes, there was no precedent for




3
  Range decided an as-applied challenge under the circumstances of the case, where the felony of
making a false statement in seeking food stamps is not probative of a person’s propensity for
violence. Although the Third Circuit did not reach the broader question of whether Section
922(g)(1) is unconstitutional with respect to other felonies, it is difficult to see how a defendant
could validly be convicted under the statute. Even if a more tailored version of the statute could
be constitutional with respect to convictions for certain dangerous felonies, there is no way for a
person of ordinary intelligence to now discern from the existing statute which felonies are covered,
and which are not. Accordingly, in addition to a Second Amendment challenge, any defendant
prosecuted under the statute would have a powerful argument that it is “void for vagueness.” Id.
at 118 (Krause, J., dissenting). The same problem would arise under Section 922(g)(3) if it were
found unconstitutional in some instances but not others, with people having to wonder which
controlled substances are covered, whether it matters when they were used last or how often, or if
it matters whether drug use sedated them instead of making them violent.
4
  The Fourth Circuit recently explained that “Bruen effected a sea change in Second Amendment
law,” and overturned Maryland’s firearm licensing process due to the delays it imposed on being
allowed to lawfully obtain a firearm. Md. Shall Issue, 2023 WL 8043827, at *2.
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imposing such restrictions on non-violent criminals. Id. at 104. Just as not all felons are violent,

not all users of controlled substances are either.

       There is no reason to believe that the Third Circuit or the Supreme Court will find Section

922(g)(3) constitutional because there is no historical precedent to support its ban on gun

possession as Bruen requires. See United States v. Quailes, 2023 WL 5401733, at *5 n.3 (W.D.

Pa. Aug. 22, 2023) (dismissing indictment based on Range, noting Range is consistent with

Daniels). Accordingly, the Court should dismiss Count 3.

II.    THE UNCONSTITUTIONALITY OF SECTION 922(g)(3) REQUIRES THE
       FALSE STATEMENT AND CAUSING A RECORD TO BE STORED WITH
       FALSE INFORMATION CHARGES TO BE DISMISSED AS WELL

       The prosecution, which had been satisfied before bowing to political pressure to resolve

Mr. Biden’s 11-day ownership of an unloaded gun with a Diversion Agreement, has now

overcharged this case by turning the single act of purchasing a single handgun into three separate

felonies: (1) unlawful possession of a firearm (Section 922(g)(3)); (2) making a false statement in

purchasing a firearm (Section 922(a)(6)); and (3) causing the seller to retain a record of that same

false statement (Section 924(a)(1)(A)). But the charges for falsely checking a box on a form

denying being a user of a controlled substance and causing the seller to retain that form with a

falsely checked box both fall to the wayside, along with the charge for unlawful possession of a

firearm, once Section 922(g)(3) is found unconstitutional. The whole purpose of asking a buyer

about his use of controlled substances, and the storage of those statements, is to verify that a gun

sale is not prohibited by Section 922(g)(3).

       In Count 1, the prosecution charges Mr. Biden’s with violating Section 922(a)(6) by

making a false statement by checking the box signifying that he is not a user of controlled

substances when he purchased a firearm. Not all false statements are punishable, however, the



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statute explicitly requires that the false statement be “with respect to any fact material to the

lawfulness of the sale.” 18 U.S.C. § 922(a)(6); see United States v. Laboy-Torres, 553 F.3d 715,

717 (3d Cir. 2009) (explaining that “materiality [is] an element necessary for conviction under §

922(a)(6)”). Now that Section 922(g)(3)’s ban on gun ownership for those who have used a

controlled substance is unconstitutional, this question on the form about whether a gun purchaser

is a user of controlled substances is irrelevant to the lawfulness of the sale. In other words, neither

the question nor the answer to it is a “fact material to the lawfulness of the sale.”

       The same is true of Count 2 because Section 924(a)(1)(A)’s requirement of maintaining

records free of false information is not implicated by Mr. Biden’s answer to a question that the

unconstitutionality of Section 922(g)(3) now makes irrelevant to whether he could lawfully

purchase the gun. Section 924(a)(1)(A) is not a statute that “criminalizes a false answer to an ultra

vires question.” Abramski, 573 U.S. at 206 (Scalia, J., dissenting). 5 The whole point of requiring

the questions on the form to be asked and that the “dealer keep certain records, [is] to enable federal

authorities both to enforce the law’s verification measures and to trace firearms used in crimes.”

Abramski, 573 U.S. at 173. The question at issue here about whether the purchaser is a user or

controlled substance relates only to verifying compliance with Section 922(g)(3). Unlike the

questions about a name, address, and serial number, knowing whether a purchaser is a controlled

substance user is of no value in tracing a weapon.           But once Section 922(g)(3) is found

unconstitutional because gun possession cannot be prohibited based on someone’s status as a user




5
  Justice Scalia’s conclusion that the scope of Section 924(a)(1)(A) does not criminalize false
answers to ultra vires questions was joined by Chief Justice Roberts and Justices Thomas and
Alito. The majority explicitly did not address that issue because it did not believe the question it
considered in that case was ultra vires. Abramski, 573 U.S. at 193 n.11.

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of controlled substances, the question about whether a person is a user of a controlled substance

becomes as irrelevant as asking the purchaser to reveal their favorite color.

       The prosecution may note that Section 924(a)(1)(A), unlike Section 922(a)(6), does not

contain a materiality requirement, but that is no answer to Justice Scalia’s observation that Section

924(a)(1)(A) does not criminalize answers to irrelevant questions. The fact that a false statement

does not need to be material does not mean that Mr. Biden can be prosecuted for a false statement

that is irrelevant to the purposes of the statute. 6 Particularly in the criminal context, the Supreme

Court has cautioned against providing a “‘boundless reading’ of a statutory term given ‘deeply

serious consequences’ that reading would entail.” Yates v. United States, 574 U.S. 528, 547 (2015)

(quoting Bond v. United States, 572 U.S. 844, 860 (2014)); see also Dubin v. United States, 599

U.S. 110, 114 (2023) (refusing to provide a “boundless interpretation”). In Bond, for example, a

married woman sought revenge against her husband’s mistress by placing harmful chemicals on

the mistress’s car, mailbox, and doorknob in an effort to give her a rash. Although the woman

plainly used chemicals as a weapon, the Supreme Court held that she could not be prosecuted for




6
  It is a well-established cannon of construction that statutory terms should not be read to their
literal extreme when doing so would produce absurd results that do not further the statute’s
purpose. See, e.g., United States v. Am. Trucking Ass’ns, 310 U.S. 534, 543 (1940) (“There is, of
course, no more persuasive evidence of the purpose of a statute than the words by which the
legislature undertook to give expression to its wishes. Often these words are sufficient in and of
themselves to determine the purpose of the legislation. In such cases we have followed their plain
meaning. When that meaning has led to absurd or futile results, however, this Court has looked
beyond the words to the purpose of the act. Frequently, however, even when the plain meaning
did not produce absurd results but merely an unreasonable one ‘plainly at variance with the policy
of the legislation as a whole’ this Court has followed that purpose, rather than the literal words.”)
(internal citation omitted); Haggar Co. v. Helvering, 308 U.S. 389, 394 (1940) (“All statutes must
be construed in the light of their purpose. A literal reading of them which would lead to
absurd results is to be avoided when they can be given a reasonable application consistent with
their words and with the legislative purpose.”).
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violating a treaty banning the use of chemical weapons because this application went beyond the

purposes of the statute. Bond, 572 U.S. at 860.

       Similarly, in Yates, a man who had unlawfully caught an undersized fish threw the fish

back in the water and was charged with obstruction of justice because he disposed of evidence in

the form of a “tangible object.” Yates, 574 U.S. at 532. The obstruction of justice statute that the

defendant was charged with violating was part of the Sarbanes-Oxley Act, “legislation designed

to protect investors and restore trust in financial markets following the collapse of Enron

Corporation.” Id. Although the Supreme Court acknowledged that “[a] fish is no doubt an object

that is tangible,” it rejected the conclusion that the defendant could be convicted because “it would

cut [the statute] loose from its financial-fraud mooring to hold that it encompasses any and all

objects, whatever their size or significance, destroyed with obstructive intent.” Id.

       As with cases like Bond and Yates, the Court should not construe the phrase “false

statement” in Section 924(a)(1)(A) to include statements that are irrelevant to verifying whether

Mr. Biden was prohibited from purchasing the firearm. To be sure, making any kind of false

statement to anyone is frowned upon, but seeking to cause someone physical harm (Bond) and

destroy evidence of a crime (Yates) were not exactly noble either. Any false statement by Mr.

Biden in response to a question that is now irrelevant to whether he had a right to purchase a

handgun is beyond the purview of the statute. Accordingly, Counts 2 and 3 should be dismissed.

                                         CONCLUSION

       The Court should dismiss the Indictment.




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Dated: December 11, 2023            /s/ Abbe David Lowell
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of December, 2023, I filed the foregoing Motion to

Dismiss the Indictment with the Clerk of Court using the CM/ECF system, which will send a

notification of such filing to all counsel of record.

                                                        /s/ Abbe David Lowell
                                                        Abbe David Lowell

                                                        Counsel for Robert Hunter Biden




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